Case 2:24-cr-20024-LVP-KGA ECF No. 13, PagelD.24 Filed 01/11/24 Page 1of5

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
: 9:24-cr-20024
Acsigned To : Parker, Linda be rly G.
UNITED STATES OF AMERICA, Referral Judge: Altman, Kimberly
assign. Dale eV; MANDARAKAS (NA)
Plaintiff Description: INDI USA:
VIOLATIONS:
Vv.
18 U.S.C. § 1201(a), (d)
GEORGE MANDARAKAS, 18 U.S.C. § 2261A(1)(B)
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
18 U.S.C. § 1201(a), (d)
Attempted Kidnapping

On or about December 25, 2023, in the Eastern District of
Michigan, Southern Division, and elsewhere, GEORGE MANDARAKAS
attempted to unlawfully seize, confine, inveigle, decoy, kidnap, abduct,
and carry away and hold Adult Victim 1 (AV-1), for ransom, reward,
and otherwise, and in committing or in furtherance of the commission of
the offense, traveled in interstate commerce from New Jersey to

Michigan and used a means, facility, and instrumentality of interstate

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Case 2:24-cr-20024-LVP-KGA ECF No. 13, PagelD.25 Filed 01/11/24 Page 2 of 5

and foreign commerce, including, but not limited to, motor vehicles,
public roads, and cellular telephones, in violation of Title 18, United
States Code, Sections 1201(a) and 1201(d).

COUNT TWO

18 U.S.C. § 2261A(1)(B)
Stalking

Beginning in or about October 2023 and continuing through
December 25, 2023, in the Eastern District of Michigan, Southern
Division, and elsewhere, GEORGE MANDARAKAS traveled in
interstate commerce from New Jersey to Michigan, with the intent to
harass, intimidate and place under surveillance with intent to harass
and intimidate Adult Victim 1 (AV-1), and in the course of and as a
result of such travel, engaged in conduct that caused, attempted to
cause, and would reasonably be expected to cause substantial emotional
distress to AV-1, in violation of Title 18, United States Code, Section
2261A(1)(B).

FORFEITURE ALLEGATION
The allegations of this Indictment are re-alleged as if fully set

forth here, for the purpose of alleging forfeiture, pursuant to Title 18,
Case 2:24-cr-20024-LVP-KGA ECF No. 13, PagelD.26 Filed 01/11/24 Page 3o0f5

United States Code, Section 981(a)(1)(C) and Title 28, United States
Code, Section 2461.

If convicted of an offense charged and set forth above, GEORGE
MANDARAKAS shall forfeit to the United States of America any
property, real or personal, which constitutes or is derived from proceeds
traceable to said violation, pursuant to Title 18, United States Code,
Section 981(a)(1)(C) together with Title 28, United States Code, Section
2461.

Substitute Assets. Pursuant to Title 21, United States Code,
Section 853(p), as incorporated by Title 18, United States Code, Section
2253(b), the defendant shall forfeit substitute property, up to the value
of the property described above, if, by any act or omission of the
defendant, the property described above cannot be located upon the
exercise of due diligence; has been transferred, sold to or deposited with
a third party; has been placed beyond the jurisdiction of the court; has
been substantially diminished in value; or has been commingled with

other property which cannot be divided without difficulty.

Case 2:24-cr-20024-LVP-KGA ECF No. 13, PagelD.27 Filed 01/11/24 Page 4of5

DAWN N. ISON
United States Attorney

s/Douglas C. Salzenstein
DOUGLAS C. SALZENSTEIN/
Acting Chief, General Crimes Unit
Assistant United States Attorney

s/Nhan Ho
NHAN HO
Assistant United States Attorney

Dated: January 11, 2024

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson

GRAND JURY FOREPERSON

Case 2:24-cr-20024-LVP-KGA ECF No. 13, PagelD.28 Filed 01/11/24 Page5of5

Case: 2:24-cr-20024
Assigned To : Parker, Linda V.
Referral Judge: Altman, Kimberly G. —

United States District Court Criminal Case ( Assign. Date : 1/11/2024
Eastern District of Michigan Description: INDI USA V. MANDARAKAS (NA)

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Companion Case Information RS - “=| Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
L) Yes No AUSA’s Initials: NH

Case Title: USA v. George Mandarakas

County where offense occurred: Wayne

Check One: Felony [_]Misdemeanor L]Petty
Indictment/ Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 23-mj-30505 ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case. DA ANAAAN2Z
January 11, 2024
Date Nhan Ho

Assistant United States Attorney
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Detroit, MI 48226-3277
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Attorney Bar #; P82793

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16
